                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE


    UNITED STATES OF AMERICA,                    )
                                                 )
    v.                                           )         No. 3:07-CR-36
                                                 )         (JORDAN/SHIRLEY)
    KENNETH J. DYER, II                          )
    STACIE L. GLANCE                             )


                         ORDER ON DISCOVERY AND SCHEDULING


    TO COUNSEL OF RECORD: PLEASE READ AND FOLLOW THIS
    CAREFULLY. IT AFFECTS YOUR CLIENTS RIGHTS.

                The defendant(s) having requested Rule 16, Fed.R.Cr.P., discovery,
    the government shall comply with Rule 16(a)(1)(A)-(F) by May 3, 2007
    (Reciprocal Discovery Due June 19, 2007) and shall supplement that disclosure as
    necessary under Rule 16, Fed.R.Cr.P., as follows in paragraphs A and B:

               A.   The government shall permit the defendant to inspect and copy the
                    following items or copies thereof, or supply copies thereof, which are
                    within the possession, custody or control of the government, the
                    existence of which is known or by the exercise of due diligence may
                    become known to the attorney for the government:

                    1.     Any relevant written or recorded statements made by the
                           defendant, and that portion of any written record (including
                           rough notes) containing the substance of any relevant oral
                           statement made by defendant before or after arrest in response
                           to interrogation by any person then known to the defendant as
                           a government agent.

                    2.     The defendant's arrest and conviction record.
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                      3.      Results or reports of physical or mental examinations, and of
                              scientific tests, including, without limitation, any handwriting
                              analysis or experiments, which are material to the preparation
                              of the defense or are intended for use by the government as
                              evidence in chief at the trial, and, as soon as possible but at
                              least three weeks before trial, unless the Court orders otherwise.


        B.       The government shall permit the defendant to inspect and copy the
                 following items or copies or portions thereof, or supply copies or portions
                 thereof, which are within the possession, custody or control of the
                 government, or the existence of which is known or by the exercise of due
                 diligence may become known to the government:

                 1.        The substance of any other relevant oral statement made by defen-
                           dant before or after his arrest in response to interrogation by a then
                           known to be government agent if the government intends to use
                           that statement at trial.

                 2.        Recorded grand jury testimony of the defendant relating to the
                           offenses charged.

                 3.        Books, papers, documents, photographs, tangible objects, buildings
                           or places which are material to the preparation of the defendant's
                           defense1 or which the government intends to use as evidence at
                           trial to prove its case-in-chief, or were obtained from or belong to
                           each defendant.

        C.       Upon receipt by a defendant of materials described in Rule 16(a)(1)(E) or
                 (F), the defendant shall comply with Rule 16(b)(1)(A) and (B) and permit
                 the government to inspect and copy the following items, or copies
                 thereof, or supply copies thereof, which are within the possession,


  1
    The United States Supreme Court has held that the phrase "material to the preparation of the defendant's
defense" as used in Rule 16(a)(1)(E)(i), Fed.R.Cr.P. (formerly Rule 16(a)(1)(C)), means material to the defendant's
direct response to the government's case-in-chief. In other words, "the defendant's defense" encompasses only
that part of the defendant's defense which refutes the government's arguments that defendant committed the
crime charged. United States v. Armstrong, 517 U.S. 456 (1996).

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               custody or control of the defendant and which defendant intends to use at
               trial in defendant's case-in-chief.

               1.    Books, papers, documents, photographs or tangible objects which
                     each defendant intends to introduce as evidence in chief at trial.

               2.    Any results or reports of physical or mental examinations and of
                     scientific tests or experiments made in connection with this case
                     which the defendant intends to introduce as evidence in chief at
                     trial, or which were prepared by a defense witness who will testify
                     concerning the contents thereof. Unless otherwise ordered by the
                     Court, these shall be produced one week before trial.

        D.     If a defendant intends to rely upon the defense of insanity at the time of
               the alleged crime, or intends to introduce expert testimony relating to a
               mental disease, defect or other condition bearing upon the issue of
               whether he had the mental state required for the offense charged, he shall
               give written notice thereof to the government as required by Rule
               12.2(a)-(b), Fed.R.Cr.P.

        E.     The government shall reveal to the defendant and permit inspection and
               copying of all information and material known to the government which
               may be favorable to the defendant on the issues of guilt or punishment
               within the scope of Brady v. Maryland, 373 U.S. 83 (1963), United States
               v. Agurs, 427 U.S. 97 (1976) (exculpatory evidence), and United States
               v. Bagley, 473 U.S. 667 (1985) (impeachment evidence). Timing of such
               disclosure is governed by United States v. Presser, 844 F.2d 1275 (6th
               Cir. 1988).

        F.     The government shall obtain the record of prior convictions, if any, of
               any witness who will testify for the government at trial so that the record
               will be available to the defendant at trial.

        G.     Upon request, the government shall state whether the defendant was
               identified in any lineup, showup, photo spread or similar identification
               proceeding, and produce any pictures utilized or resulting therefrom.

        H.     The government shall advise its agents and officers involved in this case
               to preserve all rough notes.

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        I.     Upon request, the government shall provide reasonable notice in advance
               of trial, or during trial if the court excuses pretrial notice on good cause
               shown, of the general nature of any Rule 404(b)-type evidence it intends
               to introduce at trial. Unless otherwise ordered by the Court "reasonable
               notice" shall be deemed to be seven (7) calendar days before trial.

        J.     The government shall state whether the defendant was an aggrieved
               person as defined in 18 U.S.C. §2510(11), of any electronic surveillance,
               and if so, shall set forth in detail the circumstances thereof.

        K.     Upon request, the government shall provide the defense, for independent
               expert examination, copies of all latent fingerprints or palm prints which
               have been identified by a government expert as those of the defendant.

        L.     Unless otherwise ordered by the Court, any disclosure of expert
               information required by Rule 16(a)(1)(G), Fed.R.Cr.P., shall be made by
               the government at least three (3) weeks before trial. Any disclosures
               required by Rule 16(b)(1)(C) shall be made by defendant at least one (1)
               week before trial unless the Court orders otherwise.

        M.     If transcripts of recorded conversations will be prepared for use at trial,
               counsel shall meet and confer and devise a plan for authentication of
               those transcripts to be suggested to the undersigned at any status
               conference called by the Court and in any event not later than the time of
               the pretrial conference. Every effort shall be made to stipulate the
               authenticity of any such transcripts without the necessity of court
               intervention. Counsel are directed to familiarize themselves with United
               States v. Robinson, 707 F.2d 872 (6th Cir. 1983), which describes the
               procedures for determining the admissibility of tape recordings and
               transcriptions thereof.

        N.     The parties shall make every possible effort in good faith to stipulate all
               facts or points of law, the truth and existence of which is not contested
               and the early resolution of which will expedite the trial. No stipulation
               made by defense counsel shall be used against the defendant unless the
               stipulation is reduced to writing and signed by the defendant and his
               counsel.



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        O.     The government is strongly encouraged to reveal Jencks Act materials to
               defense counsel as soon as possible and well before the testimony of
               government witnesses in order to avoid undue interruptions of trials.


               It shall be the continuing duty of counsel for both sides to immediately

reveal to opposing counsel all newly discovered information or other material within

the scope of this Order.

               Upon a sufficient showing, the Court may at any time, upon motion

properly filed, order that the discovery or inspection provided for by this order be

denied, restricted or deferred, or make such other order as is appropriate. It is

expected by the Court, however, that counsel for both sides shall make every good

faith effort to comply with the letter and spirit of this Order.

               All motions shall be filed in this case no later than May 24, 2007.

Responses to those motions will be due on June 7, 2007. All motions that require a

brief shall be accompanied by a separate brief or they may be subject to summary

denial. Motions will be decided in accordance with Local Rule 7.2. Normally, if a

motion requires an evidentiary hearing, that hearing will be scheduled before the

undersigned at least two weeks in advance of trial or will be held in conjunction with

the final pretrial conference.

               Any plea negotiations shall be concluded by N/A.




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                A pretrial conference shall be held before Magistrate Judge C. Clifford

Shirley, Jr. at 1:30 p.m. on June 19, 2007. Attached hereto are written instructions

for that conference. If you desire to use the court's Digital Evidence Presentation

System at any pretrial hearing or at trial, you should give Deputy Clerk Helen Spears

at least three working days' notice before the hearing or trial, telephoning her at

865/545-4228 between the hours of 8:00 a.m and 4:00 p.m.

                This matter is set for trial before a United States District Judge and a

twelve person jury at 9:00 a.m. on June 29, 2007. If counsel have any special

requests for instructions to the jury, the same shall be filed at least five working days

before trial.

                The government shall file all motions for a departure under section 5K1.1

of the United States Sentencing Guidelines or for a sentence below a statutory

mandatory minimum at least five working days before the sentencing hearing.

Defendants seeking a downward departure must also, in writing, notify the court and

the government of any request for a downward departure, and the grounds therefore at

least five working days before the sentencing hearing. Failure to timely comply with

this rule may result in a denial of a sentence reduction. (Local Rule 83.9(k)) If there is

a conviction in this case, the sentencing proceedings are governed by Local Rule 83.9,

EDTN.



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               One principal purpose of this discovery order is to avoid the necessity of

counsel for the defendant(s) filing routine motions for routine discovery.

Accordingly, counsel for the defendant(s) shall make a request of the government for

each item of discovery sought and be declined the same prior to the filing of any

motion.

               As soon as motions are filed in a criminal case, the Clerk is directed to

bring such motions to the attention of the cognizant magistrate judge.



               IT IS SO ORDERED.

                                           s/ C. Clifford Shirley, Jr.
                                         United States Magistrate Judge




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